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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                     ) CASE NO. 2:15-CR-0125 GEB
                                                   )
12                                 Plaintiff,      )  ORDER SEALING THE GOVERNMENT’S EX-
                                                   ) PARTE MOTION SEEKING IN CAMERA REVIEW
13                           v.                    ) OF GOVERNMENT WITNESS PERSONNEL FILE
                                                   )           AND EXHIBITS A AND B
14   BENJAMIN MACIAS,                              )
                                                   )
15                                                 )
                                   Defendant.      )
16                                                 )
                                                   )
17                                                 )
                                                   )
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19         Pursuant to Local Rule 141(b) and based upon the authorities contained in the Request to Seal
20 filed by the United States, IT IS HEREBY ORDERED that the government’s ex-parte motion seeking

21 an in camera review of personnel records for DEA Special Brian Nehring, including Exhibits A and B to

22 that motion, and the Government’s Request to Seal shall be SEALED until further order of this Court.

23 Dated: October 10, 2018

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